            Case
             Case2:17-cr-00124-JAD-EJY
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     ARTAVIOUS WRIGHT
5
                                              UNITED STATES DISTRICT COURT
6
                                                     DISTRICT OF NEVADA
7
8     UNITED STATES OF AMERICA,
                                                                          Case No. 2:17-CR-00124-8-JAD-GWF
9                         Plaintiff,

10    vs.

11    ARTAVIOUS WRIGHT,

12                        Defendant.
                                            EMERGENCY STIPULATION AND ORDER
13
              IT IS HEREBY STIPULATED AND AGREED, by and between ROBERT KNIEF, ESQ., Assistant United States
14
     Attorney, counsel for the United States of America, and THOMAS F. PITARO, ESQ., counsel for ARTAVIOUS WRIGHT;
15   that Defendant be allowed to travel to out of Nevada for Thanksgiving under the following conditions:
16            1.        That Mr. Wright be allowed to leave Las Vegas on Friday, November 17, 2017 and fly to Memphis,

17                      Tennessee.

18            2.        That Mr. Wright will return to Las Vegas on Friday, November 24, 2017.

19            3.        That Counsel has spoken to AUSA Robert Knief and he has no objections for Defendant travel.

              4.        That Mr. Wright will inform Pretrial Services of travel and abide by all of their imposed conditions.
20
                        DATED this 16th day of November, 2017
21
       /S/                                                                            /S/ __________________
22   THOMAS F. PITARO                                                               ROBERT KNIEF, ESQ.
     Nevada Bar No. 1332                                                            Assistant United States Attorney
23   601 Las Vegas Blvd. South                                                      501 Las Vegas Blvd. South, Suite 1100
     Las Vegas, Nevada 89101                                                        Las Vegas, NV 89101
24   Attorney for Defendant
     ARTAVIOUS WRIGHT
25
26            IT IS SO ORDERED.

27
                                                                            _______________________________
28
                                                                          UNITED  STATES
                                                                           DISTRICT        MAGISTRATE JUDGE
                                                                                    COURT JUDGE

                                                                          Dated: November 17, 2017

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